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                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF FLORIDA

                                     Case No. 23-CR-20175-DAMIAN/REID

       UNITED STATES OF AMERICA

       vs.

       DANIEL ALBERTO CARPMAN,

                                Defendant.
                                                   /

                                       GOVERNMENT’S EXHIBIT LIST

                                                           Government Attorneys:          Defense Attorneys:
Presiding Judge:                                           Christopher Clark              Mycki Ratzan
The Honorable Melissa Damian                               Alexander Thor                 Jude Faccidomo
                                                           Pogozelski                     Louis Martinez

Courtroom Deputy: Johanna Borges



                                     Objections/
Exhibit        Date         Date
                                     Stipulated                             Description of Exhibit
Number       Identified   Admitted
                                     Admissions

                                         00s – Search Warrant Materials
                                                               Daniel Carpman M.D. Medical Center Corp.
  01
                                                                        Compliance Manual Binder
  02                                                          All Daily Production Reports (Physical Exhibit)
  03                                                           Scanned Excerpt of Daily Production Reports
  04                                                          Scanned Excerpt of Daily Production Reports 2
  05                                                              Blank Physical Therapy Referral Forms
  06                                                                  Blank Specialist Referral Forms
                                     100s – Text Messages and Translations
 100                                                                   Daniel Carpman iPhone Notes
100A                                                       Translated Transcript of Daniel Carpman iPhones Note
 101                                                    Juliedys Mirabal WhatsApp Messages with Daniel Carpman
                                                       Translated Transcript of Juliedys Mirabal WhatsApp Messages
101A
                                                                           with Daniel Carpman
 102                                                        Yandre Trujillo Text Messages with Daniel Carpman

                                                              1
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                                  Objections/
Exhibit     Date         Date
                                  Stipulated                          Description of Exhibit
Number    Identified   Admitted
                                  Admissions
                                                 Translated Transcript of Yandre Trujillo Text Messages with
102A
                                                                        Daniel Carpman
 103                                              Yandre Trujillo WhatsApp Messages with Daniel Carpman
                                                 Translated Transcript of Yandre Trujillo WhatsApp Messages
103A
                                                                     with Daniel Carpman
 104                                               Yandy Estelar WhatsApp Messages with Daniel Carpman
                                                 Translated Transcript of Yandy Estelar WhatsApp Messages
104A
                                                                     with Daniel Carpman
                                                  Excerpts of Yandy Estelar WhatsApp Messages with Daniel
104B
                                                                           Carpman
104C                                               March 9, 2019 Daniel Carpman at Conference Attachment
                                                March 20, 2019 Daniel Carpman, Yandre Trujillo, and Juliedys
104D
                                                                      Mirabal Attachment
                                                March 20, 2019 Daniel Carpman, Yandre Trujillo, and Juliedys
104E
                                                                     Mirabal Attachment 2
                                                March 20, 2019 Daniel Carpman, Yandre Trujillo, and Juliedys
104F
                                                                   Mirabal Party Attachment
                                                March 24, 2019 Daniel Carpman, Yandre Trujillo, and Juliedys
104G
                                                                Mirabal Restaurant Attachment
                                                March 24, 2019 Daniel Carpman, Yandre Trujillo, and Juliedys
104H
                                                               Mirabal Restaurant Attachment 2
 104I                                            April 2, 2019 Yandre Trujillo Birthday Invitation Attachment
                                                August 8, 2019 Daniel Carpman, Yandre Trujillo, and Juliedys
 104J
                                                                   Mirabal Party Attachment
 105                                                 Michael Massi Text Messages with Daniel Carpman
 106                                             Michael Massi Text Message Thread 2 with Daniel Carpman
 107                                            Excerpt of (786) 699-2199 Text Messages with Daniel Carpman
                                                   Translated Transcript of Excerpt of (786) 699-2199 Text
107A
                                                                Messages with Daniel Carpman
                                                    Excerpts of Patricia Urrutia Text Messages with Daniel
 108
                                                                           Carpman
                                                   Translated Transcript of Excerpts of Patricia Urrutia Text
108A
                                                                Messages with Daniel Carpman
                                    200s – Recordings and Translations
                                                     April 29, 2020 Jorge Diaz and Claudia Borges Title 3
 200
                                                                      Telephonic Recording
                                                 Translated Transcript of April 29, 2020 Jorge Diaz and Claudia
200A
                                                              Borges Title 3 Telephonic Recording
                                                 Subtitled April 29, 2020 Jorge Diaz and Claudia Borges Title 3
200B
                                                                      Telephonic Recording
                                                June 26, 2020 Jorge Diaz and Claudia Borges Title 3 Telephonic
 201
                                                                           Recording

                                                        2
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                                  Objections/
Exhibit     Date         Date
                                  Stipulated                          Description of Exhibit
Number    Identified   Admitted
                                  Admissions
                                                 Translated Transcript of June 26, 2020 Jorge Diaz and Claudia
201A
                                                              Borges Title 3 Telephonic Recording
                                                 Subtitled June 26, 2020 Jorge Diaz and Claudia Borges Title 3
201B
                                                                     Telephonic Recording
                                                June 30, 2020 Jorge Diaz and Claudia Borges Title 3 Telephonic
 202
                                                                           Recording
                                                 Translated Transcript of June 30, 2020 Jorge Diaz and Claudia
202A
                                                              Borges Title 3 Telephonic Recording
                                                 Subtitled June 30, 2020 Jorge Diaz and Claudia Borges Title 3
202B
                                                                     Telephonic Recording
                                                    October 13, 2020 M.P. and Daniel Carpman Telephonic
 203
                                                                           Recording
                                                   Translated Transcript of October 13, 2020 M.P. and Daniel
203A
                                                                Carpman Telephonic Recording
                                                     Subtitled October 13, 2020 M.P. and Daniel Carpman
203B
                                                                     Telephonic Recording
 204                                                  November 6, 2020 M.P. Visit with Daniel Carpman
                                                Translated Transcript November 6, 2020 M.P. Visit with Daniel
204A
                                                                            Carpman
204B                                              Subtitled November 6, 2020 M.P. Visit with Daniel Carpman
                                                   December 17, 2020 M.P. and Daniel Carpman Telephonic
 205
                                                                           Recording
                                                  Translated Transcript of December 17, 2020 M.P. and Daniel
205A
                                                                Carpman Telephonic Recording
                                                    Subtitled December 17, 2020 M.P. and Daniel Carpman
205B
                                                                     Telephonic Recording
                                                    January 19, 2021 M.P. and Daniel Carpman Telephonic
 206
                                                                           Recording
                                                   Translated Transcript of January 19, 2021 M.P. and Daniel
206A
                                                                Carpman Telephonic Recording
                                                     Subtitled January 19, 2021 M.P. and Daniel Carpman
206B
                                                                     Telephonic Recording
                                                    January 21, 2021 M.P. and Daniel Carpman Telephonic
 207
                                                                           Recording
                                                   Translated Transcript of January 21, 2021 M.P. and Daniel
207A
                                                                Carpman Telephonic Recording
                                                     Subtitled January 21, 2021 M.P. and Daniel Carpman
207B
                                                                     Telephonic Recording
                                                    February 17, 2021 M.P. and Daniel Carpman Telephonic
 208
                                                                           Recording
                                                  Translated Transcript of February 17, 2021 M.P. and Daniel
208A
                                                                Carpman Telephonic Recording


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                                  Objections/
Exhibit     Date         Date
                                  Stipulated                           Description of Exhibit
Number    Identified   Admitted
                                  Admissions
                                                      Subtitled February 17, 2021 M.P. and Daniel Carpman
208B
                                                                      Telephonic Recording
                                                      March 17, 2021 M.P. and Daniel Carpman Telephonic
 209
                                                                            Recording
                                                    Translated Transcript of March 17, 2021 M.P. and Daniel
209A
                                                                 Carpman Telephonic Recording
                                                 Subtitled March 17, 2021 M.P. and Daniel Carpman Telephonic
209B
                                                                            Recording
 210                                                     March 17, 2021 M.P. visit with Daniel Carpman
                                                  Translated Transcript March 17, 2021 M.P. visit with Daniel
210A
                                                                             Carpman
210B                                                Subtitled March 17, 2021 M.P. visit with Daniel Carpman
                                                 April 6, 2021 Yandre Trujillo and Daniel Carpman Telephonic
 211
                                                                            Recording
                                                   Translated Transcript of April 6, 2021 Yandre Trujillo and
211A
                                                              Daniel Carpman Telephonic Recording
                                                  Subtitled April 6, 2021 Yandre Trujillo and Daniel Carpman
211B
                                                                      Telephonic Recording
 212                                                April 21, 2022 E.A. and N.A. Visit with Daniel Carpman
                                                 Translated Transcript of April 21, 2022 E.A. and N.A Visit with
212A
                                                                          Daniel Carpman
                                                     Subtitled April 21, 2022 E.A. and N.A Visit with Daniel
212B
                                                                             Carpman
                                                300s – CVS Records
                                                 Certified CVS Trial Subpoena Return - August 1, 2018 Letter to
 300
                                                                        Daniel Carpman
                                                 CVS Trial Subpoena Return - August 29, 2018 Letter to Daniel
 301
                                                                            Carpman
                                                      CVS Trial Subpoena Return - 12 Prescriber Algorithm
 302
                                                                           Dashboard
                                                      CVS Trial Subpoena Return - 40 Prescriber Algorithm
 303
                                                                           Dashboard
 304                                                        CVS Trial Subpoena Return - CS Analysis
 305                                                      CVS Trial Subpoena Return - Interview Slide 2
 306                                                                    Interview Notes
 307                                                                       RX-16819
 308                                                                       RX-18200
                                            400’s – Patient Records
 400                                                              A.C. Combined Patient Files
 401                                                                   A.C. Patient Chart
 402                                                              A.B. Combined Patient Files

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                                  Objections/
Exhibit     Date         Date
                                  Stipulated              Description of Exhibit
Number    Identified   Admitted
                                  Admissions
 403                                                       A.B. Patient Chart
 404                                                   A.B. Patient File Excerpt
 405                                                 A.C. Combined Patient Files
 406                                                       A.C. Patient Chart
 407                                                 A.A Combined Patient Files
 408                                                       A.A. Patient Chart
 409                                                 B.R. Combined Patient Files
 410                                                       B.R. Patient Chart
 411                                                   B.R. Patient File Excerpt
 412                                                 C.B. Combined Patient Files
 413                                                       C.B. Patient Chart
 414                                                 D.J. Combined Patient Files
 415                                                        D.J. Patient Chart
 416                                                 D.B. Combined Patient Files
 417                                                       D.B. Patient Chart
 418                                                H.Q. Combined Patient Files
 419                                                       H.Q. Patient Chart
 420                                                  J.I. Combined Patient Files
 421                                                         J.I. Patient Chart
 422                                                 J.D. Combined Patient Files
 423                                                        J.D. Patient Chart
 424                                                    J.D. Patient File Excerpt
 425                                                 J.R. Combined Patient Files
 426                                                        J.R. Patient Chart
 427                                                 J.O. Combined Patient Files
 428                                                        J.O. Patient Chart
 429                                                 L.A. Combined Patient Files
 430                                                       L.A. Patient Chart
 431                                                   L.A. Patient File Excerpt
 432                                                M.P. Combined Patient Files
 433                                                       M.P. Patient Chart
 434                                                M.C. Combined Patient Files
 435                                                       M.C. Patient Chart
435A                                                October 5, 2018 M.C. Referral
 436                                                   M.C. Patient File Excerpt
 437                                                M.P. Combined Patient Files
 438                                                       M.P. Patient Chart
 439                                                   M.P. Patient File Excerpt
 440                                                 M.J. Combined Patient Files
 441                                                       M.J. Patient Chart
 442                                                M.M. Combined Patient Files
 443                                                       M.M. Patient Chart

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                                  Objections/
Exhibit     Date         Date
                                  Stipulated                            Description of Exhibit
Number    Identified   Admitted
                                  Admissions
 444                                                               N.A. Combined Patient Files
 445                                                               N.A. Andreas Patient Chart
 446                                                               P.J. Combined Patient Files
 447                                                                      P.J. Patient Chart
 448                                                               R.G. Combined Patient Files
 449                                                                     R.G. Patient Chart
 450                                                               S.G. Combined Patient Files
 451                                                                     S.G. Patient Chart
 452                                                               E.A. Combined Patient Files
 453                                                                     E.A. Patient Chart
 454                                                                 E.A. Patient File Excerpt
 455                                                               N.A. Combined Patient Files
 456                                                                     N.A. Patient Chart
 457                                                               A.L. Combined Patient Files
 458                                                                     A.L. Patient Chart
 459                                                                 A.L. Patient File Excerpt
 460                                                            Jorge Diaz Combined Patient Files
 461                                                                 Jorge Diaz Patient Chart
 462                                                               K.H. Combined Patient Files
 463                                                                 K.H. Patient File Excerpt
463A                                                               2020.11.12 K.H. USCREEN
 464                                                                 C.V. Patient File Excerpt
 465                                                                 E.M. Patient File Excerpt
 466                                                                  I.P. Patient File Excerpt
 467                                                                 J.V. Patient File Excerpt
 468                                                                 L.P. Patient File Excerpt
 469                                                                 N.R. Patient File Excerpt
 470                                                                 O.G. Patient File Excerpt
 471                                                                 Y.S. Patient File Excerpt
 472                                                         Patient Records Full Export Spreadsheet
                                                500’s – Prescriptions
 500                                                   May 8, 2020 M.C. Prescription for Oxycodone 30mg
 501                                                    May 8, 2020 B.R. Prescription for Oxycodone 30mg
 502                                                 October 13, 2020 M.P. Prescription for Oxycodone 30mg
 503                                                 January 21, 2021 M.P. Prescription for Oxycodone 30mg
 504                                                               Iliana Mastrapa Prescriptions
 505                                                   August 17, 2020 - Oxycodone 30 mg (40 pills) Bottle
 506                                                   October 19, 2020 – Oxycodone 30mg (90 pills) Bottle
 507                                                 November 24, 2020 – Oxycodone 30 mg (90 pills) Bottle
 508                                                 December 30, 2020 - Oxycodone 30 mg (90 pills) Bottle
 509                                                   February 1, 2021 - Oxycodone 30 mg (90 pills) Bottle

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                                  Objections/
Exhibit     Date         Date
                                  Stipulated                          Description of Exhibit
Number    Identified   Admitted
                                  Admissions
 510                                                  March 1, 2021 - Oxycodone 30 mg (90 pills) Bottle
 511                                                  April 1, 2021 - Oxycodone 30 mg (90 pills) Bottle
                                                600’s – PDMP Data
 600                                             Daniel Carpman PDMP January 1, 2018 through April 28, 2023
 601                                                              Anais Lorenzo PDMP
 602                                                                  B.R. PDMP
 604                                                                  E.A. PDMP
 605                                                               Jorge Diaz PDMP
 606                                                                  L.A. PDMP
 607                                                                  M.P. PDMP
 608                                                                  N.A. PDMP
                             700’s – Certified DAVIDs and Corporate Records
 701                                                           Anais Lorenzo Certified David
701A                                                         Anais Lorenzo DAVID Signatures
 702                                                                A.C. Certified David
702A                                                              A.C. DAVID Signatures
 703                                                                B.R. Certified David
703A                                                              B.R. DAVID Signatures
 704                                                          Claudia Borges Certified David
704A                                                         Claudia Borges DAVID Signatures
 705                                                          Daniel Carpman Certified David
705A                                                         Daniel Carpman DAVID Signatures
 706                                                                E.A. Certified David
706A                                                              E.A.DAVID Signatures
 707                                                             Jorge Diaz Certified David
707A                                                           Jorge Diaz DAVID Signatures
 708                                                                J.M. Certified David
708A                                                              J.M. DAVID Signatures
 709                                                                L.A. Certified David
709A                                                              L.A. DAVID Signatures
 710                                                                M.C. Certified David
710A                                                              M.C. DAVID Signatures
 711                                                                M.P. Certified David
711A                                                              M.P. DAVID Signatures
 712                                                                N.A. Certified David
712A                                                              N.A. DAVID Signatures
 713                                                                P.D. Certified David
713A                                                              P.D. DAVID Signatures
 714                                                          Yandre Trujillo Certified David
714A                                                         Yandre Trujillo DAVID Signatures

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                                  Objections/
Exhibit     Date         Date
                                  Stipulated                          Description of Exhibit
Number    Identified   Admitted
                                  Admissions
 715                                              Carpman Medical Center Inc Certified Corporate Records
                                                   Cosmetic Dermatology Research Inc Certified Corporate
 716
                                                                           Records
 717                                                D&D Capital Group LLC Certified Corporate Records
 718                                                    Danal Prop LLC Certified Corporate Records
 719                                               Donate Medical Center Inc Certified Corporate Records
 720                                                 MD Beauty Team LLC Certified Corporate Records
 721                                              Total Life Health Center LLC Certified Corporate Records
                                          800’s – Financial Records
 800                                             Daniel A Carpman Car Loan Agreement x4497 Regions Bank
 801                                                    Daniel A Carpman MD Inc x7000 Chase Bank
                                                Daniel A Carpman MD Inc x7000 Transaction Data File 1 Chase
801A
                                                                           Bank
                                                Daniel A Carpman MD Inc x7000 Transaction Data File 2 Chase
801B
                                                                           Bank
 802                                                    Daniel A Carpman MD Inc x8558 Chase Bank
 803                                                    Daniel A Carpman MD Inc. x7385 Chase Bank
                                                Daniel A Carpman MD Inc. x7385 Transaction Data File Chase
803A
                                                                           Bank
 804                                                    Daniel A Carpman MD Inc. x9400 Chase Bank
                                                Daniel A Carpman MD Inc. x9400 Transaction Date File Chase
804A
                                                                           Bank
 805                                                    Daniel A Carpman MD Inc. x9448 Chase Bank
                                                  Daniel A Carpman MD Inc. x9448 Transaction Data File 1
805A
                                                                        Chase Bank
                                                  Daniel A Carpman MD Inc. x9448 Transaction Data File 2
805B
                                                                        Chase Bank
805C                                                 Daniel A Carpman MD Inc. x9448 Wires Chase Bank
 836                                               Daniel A Carpman Mortgage Loan x4292 Regions Bank
 807                                                  Daniel A Carpman Safe Deposit x0200 Wells Fargo
 808                                                       Daniel A Carpman x0561 Regions Bank
 809                                                        Daniel A Carpman x1089 Chase Bank
 810                                                        Daniel A Carpman x4846 Chase Bank
 811                                                       Daniel A Carpman x6969 Regions Bank
 812                                                        Daniel A Carpman x7200 Chase Bank
812A                                             Daniel A Carpman x7200 Transaction Data File Chase Bank
 813                                                        Daniel A Carpman x7623 Chase Bank
 814                                                       Daniel A Carpman x8130 Regions Bank
 815                                                          Daniel A Carpman x9475 Citibank
 816                                                       Daniel A Carpman x9836 Regions Bank
 817                                                       Daniel A Carpman x9995 Regions Bank


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                                  Objections/
Exhibit     Date         Date
                                  Stipulated                         Description of Exhibit
Number    Identified   Admitted
                                  Admissions
 818                                                        Daniel A. Carpman x5831 Chase Bank
818A                                            Daniel A. Carpman x5831 Transaction Data File 1 Chase Bank
818B                                            Daniel A. Carpman x5831 Transaction Data File 2 Chase Bank
 819                                            Daniel Alberto Carpman x3047 Jet Stream Federal Credit Union
 820                                             Daniel Carpman MD Medical Center Corp x1580 Chase Bank
                                                 Daniel Carpman MD Medical Center Corp x1580 Transaction
820A
                                                                   Data File 1 Chase Bank
                                                 Daniel Carpman MD Medical Center Corp x1580 Transaction
820B
                                                                   Data File 2 Chase Bank
 821                                             Daniel Carpman MD Medical Center Corp x2022 Chase Bank
                                                 Daniel Carpman MD Medical Center Corp x2022 Transaction
821A
                                                                    Data File Chase Bank
 822                                             Daniel Carpman MD Medical Center Corp x7786 Chase Bank
                                                 Daniel Carpman MD Medical Center Corp x7786 Transaction
822A
                                                                    Data File Chase Bank
 823                                             Daniel Carpman MD Medical Center Corp x7810 Chase Bank
                                                 Daniel Carpman MD Medical Center Corp x7810 Transaction
823A
                                                                    Data File Chase Bank
 824                                                       Daniel Carpman x6017 Bank of America
824A                                             Daniel Carpman x6017 Loan History 1 Bank of America.csv
824B                                             Daniel Carpman x6017 Loan History 2 Bank of America.csv
 825                                                         Daniel Carpman x8819 Wells Fargo
 826                                               Donate Medical Center Inc PPP Loan x9632 Wells Fargo
 827                                                   Donate Medical Center Inc x0614 Regions Bank
 828                                                  Donate Medical Center Inc x1431 Bank of America
 829                                                    Donate Medical Center Inc x9007 Wells Fargo
 830                                                 Donate Medical Center Inc x9402 Wells Fargo Bank
                                                Donate Medical Center Inc x9402 x9007 and x9918 Wells Fargo
 831
                                                                            Bank
 832                                                  Daniel Daniel Carpman Safe Deposit x5970 Truist
                                                  Karine Cureton Daniel Carpman MD Medical Center Corp
 833
                                                                      x1431 Chase Bank
                                                  Karine Cureton Daniel Carpman MD Medical Center Corp
833A
                                                           x1431 Transaction Data File Chase Bank
                                                  Karine Cureton Daniel Carpman MD Medical Center Corp
 834
                                                                      x8820 Chase Bank
                                                  Karine Cureton Daniel Carpman MD Medical Center Corp
834A
                                                           x8820 Transaction Data File Chase Bank
                                                 Wells Fargo Bank Transactions for accounts x8819 x9007 and
 835
                                                                            x9402
 836                                             Cosmetic Dermatology Research Institute x0696 Chase Bank
                                                 Cosmetic Dermatology Research Institute x0696 Transaction
836A
                                                                   Data File 1 Chase Bank

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                                  Objections/
Exhibit     Date         Date
                                  Stipulated                            Description of Exhibit
Number    Identified   Admitted
                                  Admissions
                                                   Cosmetic Dermatology Research Institute x0696 Transaction
836B
                                                                   Data File 2 Chase Bank
 837                                               Cosmetic Dermatology Research Institute x3483 Chase Bank
                                                   Cosmetic Dermatology Research Institute x3483 Transaction
837A
                                                                    Data File 1 Case Bank
                                                   Cosmetic Dermatology Research Institute x3483 Transaction
837B
                                                                    Data File 2 Case Bank
 838                                                      D&D Capital Group LLC x7320 Chase Bank
                                                  D&D Capital Group LLC x7320 Transaction Data File 1 Chase
838A
                                                                            Bank
                                                  D&D Capital Group LLC x7320 Transaction Data File 2 Chase
838B
                                                                            Bank
 839                                                       339 - Danal Prop LLC x3683 Chase Bank
839A                                                Danal Prop LLC x3683 Transaction Data File Chase Bank
                                                900’s – Miscellaneous
 900                                                  Shareholders Agreement of Donate Medical Center, Inc.
 901                                                    Purchase Agreement of Donate Medical Center, Inc.
 902                                                              CBP Certified Travel Records
 903                                                                 Photo of Stacks of Cash
 904                                                                  Photo of Post-it Notes
 905                                                                General Care Center Photos
 906                                                         Donate Medical Center Coral Way Photos
 907                                                            Daniel Carpman Residence Photos
 908                                                                 AT&T (Bellsouth) Tolls
 909                                                                       AT&T Tolls
 910                                                                     T-Mobile Tolls
 911                                                                      Comcast Tolls
                                                      Florida Department of Health - Pain Management Clinic
 912
                                                                        Reporting Forms
                                         1000’s – Summary Exhibits
1000                                                   Daniel Carpman Jorge Diaz Toll Contact Summary
1001                                                 Daniel Carpman Yandre Trujillo Toll Contact Summary
1002                                                    Summary Analysis of Daniel Carpman's PDMP
1003                                                            Summary of Financial Records
1004                                                         Summary of Daily Production Reports
1005                                                  Summary of Financials and Daily Production Reports
1006                                                              Count Prescription Slides
1007                                              Summary of FL DOH Pain Management Clinic Reporting Forms




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                                             Respectfully submitted,


                                             HAYDEN P. O’BYRNE
                                             UNITED STATES ATTORNEY
                                             SOUTHERN DISTRICT OF FLORIDA


  Dated:     March 18, 2025           By:    /s/ Alexander Thor Pogozelski
                                             Alexander Thor Pogozelski
                                             Florida Special Bar No. A5502549
                                             Christopher J. Clark
                                             Florida Bar No.0588040
                                             Assistant United States Attorneys
                                             99 Northeast 4th Street
                                             Miami, Florida 33132
                                             Tel: (786) 649-5251 (Pogozelski)
                                             Tel: (305) 961-9167 (Clark)
                                             Email: Alexander.Pogozelski@usdoj.gov
                                             Email: Christopher.Clark@usdoj.gov




                                 CERTIFICATE OF SERVICE
           I HEREBY CERTIFY that on March 18, 2025, a true and correct copy of the foregoing

  was filed and served on all counsel of record via the CM/ECF system.

  Dated: March 18, 2025                              /s/ Alexander Thor Pogozelski
                                                     Assistant United States Attorney




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